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 1   D. EDWARD HAYS, #162507
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 2   MARSHACK HAYS LLP
     870 Roosevelt                                                FILED & ENTERED
 3
     Irvine, California 92620
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 5
                                                                   CLERK U.S. BANKRUPTCY COURT
     Attorneys for Chapter 7 Trustee,                              Central District of California
 6   RICHARD A. MARSHACK                                           BY wesley DEPUTY CLERK


 7
                             UNITED STATES BANKRUPTCY COURT
 8
               CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
 9
10
     In re                                             Case No.       2:21-bk-11188-BB
11
     GLENROY COACHELLA, LLC,                           Chapter 7
12

13                         Debtor.                     ORDER GRANTING MOTION FOR
                                                       ORDER AUTHORIZING: (1) SALE OF
14                                                     REAL PROPERTY LOCATED AT 84151
                                                       AVENUE 48, COACHELLA, CA AND
15                                                     RELATED ASSETS: (A) OUTSIDE THE
16                                                     ORDINARY COURSE OF BUSINESS;
                                                       (B) FREE AND CLEAR OF LIENS,
17                                                     CLAIMS, AND ENCUMBRANCES;
                                                       (C) SUBJECT TO OVERBID; (D) FOR
18                                                     DETERMINATION OF GOOD FAITH
                                                       PURCHASER UNDER 11 U.S.C. §363(m);
19                                                     AND (2) ASSUMPTION OF EXECUTORY
20                                                     CONTRACTS AND UNEXPIRED LEASES
                                                       UNDER 11 U.S.C. §365
21
                                                         Date: September 30, 2021
22                                                       Time: 10:00 a.m.
                                                         Place: Courtroom 1539
23                                                              255 E. Temple Street
24                                                              Los Angeles, CA 90012

25                                                     Honorable Sheri Bluebond

26                                                        EXHIBIT ATTACHED
                                                       (PARTIES’ SIGNATURE PAGE)
27

28

                                     ORDER GRANTING MOTION FOR SALE
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 1           On September 30, 2021, the Motion for Order Authorizing: 1) Sale of Real Property
 2   Located at 84151 Avenue 48, Coachella, CA and Related Assets: (a) Outside the Ordinary
 3   Course of Business; (b) Free and Clear of Liens, Claims, and Encumbrances; (c) Subject to
 4   Overbid; (d) for Determination of Good Faith Purchaser under 11 U.S.C. §363(m); and
 5   2) Assumption of Executory Unexpired Leases Under 11 U.S.C. §365 (the “Motion”) filed by
 6   Chapter 7 Trustee Richard A. Marshack’s (“Movant”)1 came on for its scheduled hearing before
 7   the Honorable Sheri Bluebond, United States Bankruptcy Judge, presiding.
 8           The Court considered the evidence filed in support of the Motion, and also considered the
 9   objections, responses, and evidence of Doug Wall Construction, Inc. (“Doug Wall”), Jacobsson
10   Engineering Construction, Inc. (“Jacobsson”), the California Statewide Communities
11   Development Authority (“CSCDA”), Art of the Muse, LLC d/b/a Oly (“Art of the Muse”), and
12   the reply and evidence of U.S. Real Estate Credit Holdings III-A, LP (“USRECH”). The Court
13   also considered the verbal, but untimely, objection raised by Quonset Partners LLC (“Quonset”).
14   Appearances were as noted on the Court’s record. In considering the Motion, the Court has also
15   considered the documents and pleadings on file herein, all judicially noticeable facts of which
16   judicial notice was requested by a party, and the arguments and representations of counsel made
17   at the September 30, 2021, hearing.
18           Based on the statements and findings of the Court on the Motion as reflected in the
19   tentative ruling attached as Exhibit “1” and on the record, and after finding that notice of the
20   Motion was proper, and after further finding that the proposed sale is in the best interests of the
21   estate, and after further finding that the bidding procedures approved by the Court and as
22   implemented by the Court at the hearing were reasonable and in the best interests of the estate,
23   and for good cause appearing therefor,
24           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED as follows:
25           1.       The Motion is GRANTED subject to the specifications set forth in this Order;
26

27   1
       The Motion was filed by the Movant when he was serving as the duly-appointed Chapter 11 Trustee, but subsequent
     to the filing of the Motion, this case was converted to Chapter 7 and the Movant has been duly appointed as the
28   Chapter 7 Trustee.




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 1          2.      Jurisdiction and Venue. This Court has jurisdiction pursuant to 28 U.S.C.
 2   §§ 157 and 1334. The matters presented in the Motion are core proceedings under 28 U.S.C.
 3   § 157(b)(2). Venue is proper in this district and before this Court pursuant to 28 U.S.C. §§ 1408
 4   and 1409. Venue in this district and before this Court is proper;
 5          3.      Authorization to Sell. Trustee is authorized to sell the estate’s interest in and to
 6   that certain real and personal property, as more particularly described below (“Property”), on the
 7   terms and conditions stated in the Motion and in the Motion to Approve Compromise with U.S.
 8   Real Estate Credit Holdings III-A, LP (Dkt. No. 322) (“Compromise Motion”) which was
 9   approved by this Court pursuant to an Order granting the Compromise Motion (“Compromise
10   Order”) (Dkt. No. 455) (collectively, the “Lender Purchase Agreement”);
11          4.      The Property. The Property is more particularly described as follows:
12                  (i)    That certain land located in the County of Riverside, State of California,
                           identified by APNs 603-220-061, 603-220-065, 603-220-067, 603-220-
13                         068, and 603-220-069, comprising approximately thirty-five (35) acres, as
                           more particularly described in that certain Deed of Trust dated April 26,
14                         2018, and recorded in the Official Records of Riverside County as Doc.
                           No. 2018- 0162476 (“Land”), (ii) the partially completed hotel resort on
15                         the Land (“Improvements” , and together with the Land, “Real Property”),
                           (iii) the tenancy-in-common interests granted to Seller by Coachella
16                         Resort, LLC, Force Rubin, LLC, and Force Rubin 2, LLC; (iv) all rights,
                           privileges, and easements appurtenant to the Land, (v) all development
17                         rights related to the Real Property, with the exception of any development
                           agreements not expressly assumed in this Order; (vi) all right, title, and
18                         interest in any intangible personal property used in relation to the
                           ownership, development, or operation of the Real Property; (vii) all
19                         tangible personal property, including construction materials, equipment,
                           appliances, and furnishings, owned by Seller located on the Real Property
20                         or purchased in connection with its development, even if stored off site;
                           and (viii) all tax attributes of Seller (including, by way of example, any net
21                         operating losses) arising from or related to the Property; and
22                  (ii)   The “Property” also includes the Estate’s interest, if any, in development
                           rights and entitlements to develop on the Real Property a full service hotel
23                         comprising approximately 199,026 square feet of gross building area that
                           will include, without limitation the following (collectively, “Hotel”); (i) 51
24                         one-story villas split between two-, four- and six-bedroom structures
                           comprising a total of 250 guestrooms, (ii) four restaurants, (iii) outdoor
25                         pool, (iv) fitness center, (v) full-service spa with six treatment rooms,
                           (vi) outdoor event space, (vii) approximately 11,125 square feet of
26                         dedicated meeting space, (viii) surface parking for approximately 377
                           automobiles, all built behind an 11-foot high privacy wall, and (ix) the
27                         North East corner parcel entitled for a midrise hotel;
28



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 1           5.      Successful Bidder. USRECH was the only party that submitted a Qualified Bid
 2   for the Property. No other person or entity submitted a Qualified Bid by the deadline established
 3   in the sale procedures approved by this Court and, except for USRECH, no person or entity
 4   submitted a bid of any sort prior to or during the sale hearing. As a result, Trustee was not
 5   required to conduct an auction and the $22,000,000 credit bid (“Credit Bid”) submitted by
 6   USRECH is the highest and best offer for the Property;
 7   Lender Purchase Agreement; Sale in Best Interest; Marketing.
 8           6.      The Lender Purchase Agreement reflects the exercise of the Trustee’s sound
 9   business judgment and the Credit Bid and other terms submitted and accepted thereunder (i) are
10   fair and reasonable, (ii) represent the highest and best offer for the Property, (iii) will provide a
11   greater recovery for the Debtor’s creditors than would be provided by any other practical
12   alternative, and (iv) constitute fair consideration;
13           7.      The consideration provided by the Purchaser for the Property under the Lender
14   Purchase Agreement shall be deemed to constitute reasonably equivalent value and fair
15   consideration under the Bankruptcy Code and under the laws of the United States, any state,
16   territory, possession, or the District of Columbia. The sale may not be avoided under section
17   363(n) of the Bankruptcy Code. The Purchase Agreement was not entered into, and the sale is
18   not being consummated, for the purpose of hindering, delaying, or defrauding creditors of the
19   Debtor under the Bankruptcy Code or under the laws of the United States, any state, territory,
20   possession thereof, or the District of Columbia, or any other applicable law. Neither Trustee nor
21   the Purchaser have entered into the Lender Purchase Agreement or any agreement contemplated
22   thereby or are consummating the sale with any fraudulent or otherwise improper purpose,
23   including, without limitation, to evade any pension liabilities. No other person or entity or group
24   of persons or entities has offered to purchase the Property for an amount that would provide
25   greater value to the Estate than the value provided by the Purchaser. The Court’s granting of the
26   Motion and the approval of the Lender Purchase Agreement are in the best interests of the Debtor,
27   its estate, creditors, and all other parties in interest;
28



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 1           8.      Purchaser. USRECH has formed a new special purpose entity, USREC
 2   Coachella LLC, a Delaware limited liability company (together with USRECH, the “Purchaser”)
 3   to act as its designee for the purpose of receiving and holding title to the Property;
 4   Good Faith.
 5           9.      The Purchaser is a good faith purchaser under 11 U.S.C. § 363(m) and, as such, is
 6   entitled to all of the protections afforded thereby. The Lender Purchase Agreement was not
 7   entered into for the purpose of hindering, delaying, or defrauding creditors under the Title 11 of
 8   the United States Code (“Bankruptcy Code”) and under the laws of the United States or any state,
 9   territory, possession, or district thereof;
10           10.     The transactions contemplated by the Lender Purchase Agreement are undertaken
11   by Purchaser without collusion and in good faith, as that term is used in Bankruptcy Code Section
12   363(m) and, accordingly, the reversal or modification on appeal of the authorization provided in
13   this Order to consummate the sale shall not affect the validity of the transactions (including the
14   assumption and assignment of any assigned contracts). Purchaser is a purchaser in good faith of
15   the Property and is entitled to all the protections afforded by Bankruptcy Code Section 363(m);
16           11.     As a good faith purchaser of the Property, Purchaser has not entered into an
17   agreement with any other potential bidders, and has not colluded with any of the other bidders,
18   potential bidders or any other parties interested in the Property, and, therefore, neither the Debtor
19   nor any successor in interest to the Debtor’s estates shall be entitled to bring an action against the
20   Purchaser, and the sale may not be avoided pursuant to Section 363(n) of the Bankruptcy Code;
21   Free and Clear Sale; Necessity of Order.
22           12.     Except for the CSCDA Special Assessment Liens and the Mello Roos Special Tax
23   Liens (as each is defined in paragraph 18 below) and the mechanics liens of record that may later
24   be adjudicated to be senior to Purchaser’s deed of trust, including the amended mechanics lien of
25   Doug Wall Construction, Inc. (recorded in Riverside County, CA as #2019-0401936; lis pendens
26   recorded in Riverside County as #2019-0415790), Trustee’s sale of real property is free and clear
27   of all liens, claims, and interests of any kind or nature whatsoever, because, in each case, one or
28   more of the standards set forth in 11 U.S.C. §§ 363(f)(1)-(5) has been satisfied. Until paid,



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 1   Purchaser is taking title subject to mechanics liens adjudicated to be senior to Purchaser’s deed of
 2   trust, with the exception of Escrowed Liens, which will attach to the Escrow Fund and are
 3   consequently hereby removed from title. Trustee also is authorized to sell any personal property
 4   to which Purchaser wishes to take title; however, Purchaser shall take title to any desired personal
 5   property subject to all valid and enforceable liens but free and clear of all other interests;
 6          13.     Except as otherwise provided, Purchaser would not have entered into the Purchase
 7   Agreement and would not consummate the sale if the sale of the Property to the Purchaser were
 8   not, pursuant to section 363(f) of the Bankruptcy Code, free and clear of liens, claims, interests,
 9   and other encumbrances;
10          14.     Preceding the sale, the Debtor’s tenants-in-common, Coachella Resort, LLC, Force
11   Rubin, LLC, and Force Rubin 2, LLC (“TICs”), conveyed their interests in the Property to the
12   bankruptcy estate as set forth in this Court’s order entered July 28, 2021 (Dkt. No 321). Trustee is
13   authorized to convey these interests to Purchaser;
14          15.     Except as otherwise provided in this Order, the sale of all of the Property to
15   Purchaser is a legal, valid, and effective transfer of the Property for fair consideration that shall
16   vest in Purchaser all rights, title, and interest of the Debtor, and the TICs, in and to the Property
17   free and clear of any liens, claims, encumbrances, rights, remedies, restrictions, interests,
18   liabilities, and contractual commitments of any kind or nature whatsoever, whether arising before
19   or after the Petition Date, whether at law or in equity, including all rights or claims based on any
20   successor or transferee liability; provided, however, that any easements, entitlements, liens or
21   other rights or interests that run with the Property shall continue to attach to the Property to the
22   same extent they did prior to the date of this Order. Except as otherwise set forth in this Order,
23   the Property shall be sold to Purchaser free and clear of all liens, claims, encumbrances, and
24   interests pursuant to 11 U.S.C. § 363(f) including, without limitation: (i) any mechanics liens
25   determined to be junior to the liens of USRECH; (ii) any mechanics liens determined to be
26   invalid or untimely under California law; and (iii) any unknown or unrecorded easements,
27   encumbrances, liens, claims, or interests, including without limitation the unrecorded easement
28   asserted by Quonset, as described in its adversary case assigned Case No. 2:21-ap-01197;



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 1          16.     The following mechanic’s lien claims (“Escrowed Liens”) shall attach to the
 2   Escrow Fund (as defined below) in the same manner and with the same effect, if any, under
 3   applicable federal and state law, subject to further order of the Court.
 4

 5      Mechanic’s Lien Holder                          Instrument No. Recorded in Riverside County
 6      The Sherwin-Williams Company                    2019-0198410, recorded June 3, 2019, and
 7                                                      partially released pursuant to 2019-0252361,
 8                                                      recorded on July 10, 2019, and accompanied
 9                                                      by a Lis Pendens recorded as 2019-0340640
10      GF Investment Group, Inc.                       2019-0204095, recorded June 6, 2019
11      Blair Air, Inc. Dba Blair Heating & Air         2019-0206598, recorded June 7, 2019, and
12                                                      accompanied by a Lis Pendens recorded as
13                                                      2019-0370664
14      Hajoca Corporation                              2019-0210159, recorded June 11, 2019
15      Apple J Plumbing, Inc.                          2019-0219453, recorded June 18, 2019, and
16                                                      accompanied by a Lis Pendens recorded as
17                                                      2019-0376609
18      Jacobsson Engineering Construction, Inc.        2019-0225760, dated June 21, 2019, and
19                                                      accompanied by a Lis Pendens recorded as
20                                                      2020-0350966
21      Orco Block & Hardscape                          2019-0253532, recorded July 10, 2019, and
22                                                      accompanied by a Lis Pendens recorded as
23                                                      2019-0432553
24      L&W Supply Corporation                          2019-0293318, recorded August 5, 2019
25
        L&W Supply Corporation                          2019-0293319, recorded August 5, 2019
26
        Desert Palms Electric, Inc.                     2019-0295567, recorded August 6, 2019, and
27
                                                        accompanied by a Lis Pendens recorded as
28
                                                        2019-0376610, dated September 24, 2019



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 1
           TemalPakh, Inc., dba The Works Floor &                  2019-0328428, recorded August 26, 2019, and
 2
           Wall                                                    accompanied by a Lis Pendens recorded as
 3
                                                                   2019-0428103
 4
           Silhouette Outdoor Furniture, Inc.2                     2019-0336225, recorded August 29, 2019
 5
           BMC West, LLC                                           2019-0354394, recorded September 11, 2019,
 6
                                                                   and accompanied by a Lis Pendens recorded
 7
                                                                   as 2019-0483250
 8
           Al Miller & Sons Roofing Co., Inc.                      2019-0372302, recorded September 20, 2019,
 9
                                                                   as amended by 2019-0402031, and
10
                                                                   accompanied by a Lis Pendens recorded as
11
                                                                   2020-0013979, and partially withdrawn by a
12
                                                                   Notice of Partial Withdrawal of Lis Pendens
13
                                                                   recorded as 2020-0668683
14
           Mascorro Concrete Construction Inc.                     2019-0321348, recorded August 21, 2019, and
15
                                                                   accompanied by a Lis Pendens recorded as
16
                                                                   2019-0376608, and partially withdrawn by a
17
                                                                   Notice of Partial Withdrawal of Lis Pendens
18
                                                                   recorded as 2020-0668680
19
           Southwest Plumbing, Inc.                                2019-0377201, recorded September 24, 2019,
20
                                                                   and accompanied by a Lis Pendens recorded
21
                                                                   as 2019-0009905
22
           All Phase Drywall & Development, Inc.                   2019-0379585, recorded September 25, 2019
23
           All Phase Drywall & Development, Inc.                   2019-0379586, recorded September 25, 2019,
24
                                                                   and accompanied by a Lis Pendens recorded
25
                                                                   as 2020-0009905
26
           Tandem West Glass, Inc.                                 2019-0379822, recorded September 25, 2019,
27
28   2
         Default judgment issued in United States District Court




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 1
                                                       as amended by 2019-0402041, recorded
 2
                                                       October 7, 2019, and accompanied by a Lis
 3
                                                       Pendens recorded as 2020-0013976
 4
        GF Investment Group, Inc.                      2019-0385786, recorded September 27, 2019,
 5
                                                       and accompanied by a Lis Pendens recorded
 6
                                                       as 2019-0544250
 7
        La Hacienda Nursery & Landscape, Inc.          2019-0415743, recorded October 16, 2019,
 8
                                                       and accompanied by a Lis Pendens recorded
 9
                                                       as 2020-0000938
10
11   Ad Valorem Taxes, Mello Roos Special Taxes and PACE Assessments.
12          17.     All outstanding ad valorem taxes, special taxes and special assessments
13   (collectively, “Taxes”) and penalties and interest accrued through October 15, 2021, which were
14   in the sum of $799,005.73 were paid by USRECH to the Riverside County Tax Collector;
15          18.     The Property shall remain subject to (i) the special tax liens of Community
16   Facilities District No. 2018-1 of the City of Coachella (Glenroy) (“CFD No. 2018-1”) securing
17   the obligations associated with the construction of certain authorized facilities (“Mello Roos
18   Facilities Obligations”) funded with proceeds of bonds issued by the CFD No. 2018-1 (“Mello
19   Roos Special Tax Liens”), and (ii) the special assessment liens of CSCDA securing the
20   obligations under those certain Agreement to Pay Assessment and Finance Improvements, under
21   the CaliforniaFirst Program dated April 24, 2018, (the “PACE Assessments”) that was attached as
22   Exhibit 1 to the Notices of Assessment and Payment of the Contractual Assessments Required
23   recorded in the official records of the County of Riverside against the Property as Document Nos.
24   2018-0160473 through 0160477 as amended by those certain Addendums to Notice of
25   Assessment that were filed in the official records of the County of Riverside as Document Nos.
26   2020-0464144 through 2020-0464148 (the “CSCDA Special Assessment Liens”). The Purchaser
27   (or any subsequent assignee or nominee) shall take the Property subject to the CSCDA Special
28



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 1   Assessment Liens and the PACE Assessments secured thereby and the Mello Roos Special Tax
 2   Liens and the Mello Roos Facilities Obligations secured thereby;
 3          19.     The amended mechanics lien of Doug Wall, recorded in the Official Records of
 4   Riverside County as Instrument No. 2019-0401936 (“Doug Wall Lien”) and Lis Pendens
 5   recorded as instrument no. 2019-0415790 shall remain on the Property unless and until the Doug
 6   Wall Lien has been adjudicated as junior to the lien of USRECH at which point it shall be
 7   expunged from the Property. The amended mechanics lien is an amendment to the earlier-
 8   recorded mechanic’s lien of Doug Wall, recorded in the Official Records of Riverside County as
 9   Instrument No. 2019-0356369;
10   Permits; Governmental Revocation; Recordation.
11          20.     To the maximum extent permitted by applicable non-bankruptcy law,
12   (a) Purchaser shall be authorized, upon closing, to operate under any license, permit, registration,
13   and governmental authorization or approval (collectively, the “Permits”) with respect to the
14   Property, and (b) all Permits are deemed to have been, and hereby are directed to be, transferred
15   to the Purchaser. Nothing in this Order, and nothing in the foregoing sentence, authorizes the
16   transfer or assignment of any governmental Permit or the discontinuation of any obligation
17   thereunder without compliance with all applicable legal requirements and approvals under police
18   or regulatory law. To the extent any Permit cannot be transferred to Purchaser in accordance with
19   this paragraph, Purchaser, with assistance from Trustee, will work promptly and diligently to
20   apply for and secure all necessary government approvals for the transfer or new issuance of the
21   Permits(s) to Purchaser, and the Trustee shall, with any necessary consideration from Purchaser,
22   incur any costs or expenses, use commercially reasonably efforts to maintain the Permits to the
23   extent permitted under applicable law for Purchaser’s benefit until equivalent new Permits are
24   issued to Purchaser;
25          21.     Purchaser has not yet assumed or agreed to assume any development agreement or
26   amendments thereto with the City of Coachella including the Glenroy Resort Development
27   Agreement dated as of February 15, 2018, or any amendments or memoranda of understanding
28   executed therewith, provided that Purchaser has expressly reserved its rights to assume the



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 1   development agreement, including with consensual amendments reached between Purchaser and
 2   the City of Coachella with respect thereto, and that it is anticipated that the Trustee will seek an
 3   extension of time to assume or reject such agreements;
 4          22.     All governmental units shall comply with Bankruptcy Code section 525;
 5          23.     Each and every federal, state, and local governmental agency or department is
 6   hereby authorized to accept any and all documents and instruments necessary and appropriate to
 7   consummate the transactions contemplated by the Lender Purchase Agreement including, without
 8   limitation, recordation of this Order;
 9   Closing Conditions of Sale; Escrow Fund.
10          24.     Within two business days after entry of this Order, and as a closing condition to
11   the sale, USRECH shall remit to the Trustee the sum of $200,000 (“Administrative Payment”) to
12   be earmarked for and first used to pay the allowed compensation of Trustee and his retained
13   counsel, Marshack Hays LLP, pursuant to the Compromise Motion and Order granting the
14   Compromise Motion;
15          25.     Within two business days after entry of this Order, and as a closing condition to
16   the sale, USRECH shall remit to the Trustee the sum of $4,000,000, which amount must be held
17   by the Trustee in a sub-escrow account (“Escrow Fund”). The Escrow Fund deposit will be held
18   by the Trustee in trust pending resolution of the seniority of mechanics liens recorded against the
19   Property (which liens have not already been valued by this Court at zero pursuant to two separate
20   orders entered October 12, 2021, as docket nos. 485 and 486). Trustee may only disburse monies
21   from the Escrow Fund pursuant to Lender’s express written agreement or, in the absence of such
22   agreement, pursuant to an order of the Court upon determination that a particular mechanics lien
23   claimant has a duly-perfected, enforceable lien in an allowed amount that is senior to USRECH’s
24   lien against the Property.
25          26.     To the extent Trustee distributes monies from the Escrow Fund to holders of
26   mechanics liens that are determined to be allowed and senior to Lender, he shall be entitled to
27   compensation from the Escrow Fund pursuant to Section 326 (to the extent such funds are not
28   fully consumed by allowed senior liens); provided that the distributions upon which the Section



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 1   326 fee is calculated shall be reduced by the attorneys’ fees incurred by Lender in the bankruptcy
 2   proceedings in challenging the priority, extent or amount of any such claims. In no event will the
 3   reduction for attorney’s fees be more than $300,000;
 4           27.      Deficiency Claim. USRECH’s deficiency claim,3 after accounting for its Credit
 5   Bid, shall be subordinated to all other allowed unsecured claims, provided that there shall be no
 6   subordination of such deficiency claim to any claim of Seller’s tenants-in-common (Coachella
 7   Resort, LLC, Force Rubin, LLC, and Force Rubin 2, LLC), or any interest holders or principals of
 8   Seller, affiliates or tenants-in-common, including Stuart Rubin, Elliot Lander, Joseph Rubin, or
 9   Gary Stiffelman, or their respective affiliates or assigns; nor shall there by any subordination of
10   any allowed deficiency claim to Doug Wall Construction, Inc.;
11           28.      Effectiveness of Order. This Order is and shall be effective as a determination
12   that, upon and subject to the occurrence of the closing of the sale, all affected liens, claims, and
13   interests have been and hereby are adjudged and declared to be unconditionally released as to the
14   Property;
15           29.      Self Executing Order. This Order is self-executing, and neither the Debtor nor
16   the TICs, nor Purchaser shall be required to execute or file releases, termination statements,
17   assignments, consents, or other instruments to effectuate, consummate, and implement the
18   provisions of this Sale Order;
19           30.      Waiver of Stay. As requested in the Motion, and with no objection to such
20   request having been made, the 14-day stay prescribed by Rule 6004(h) of the Federal Rules of
21   Bankruptcy Procedure is WAIVED;
22           31.      All Necessary Actions. Trustee shall be authorized to execute any and all
23   documents as are necessary or convenient to carry out the terms of this Order and the Lender
24   Purchase Agreement; and
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      The treatment of USRECH’s administrative claims are as set forth in the Settlement Agreement affixed to the
28   Compromise Motion.




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 1           32.     Retention of Jurisdiction. This Court shall retain jurisdiction to interpret,
 2   enforce, and implement the terms of this Order.
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     Date: October 22, 2021
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 1                           [EXHIBIT – PARTIES’ SIGNATURE PAGE]
 2   APPROVED AS TO FORM BY:
 3 Dated: October 15, 2021                     MARSHACK HAYS LLP
 4                                             By: /s/ D. Edward Hays
                                                     D. EDWARD HAYS
 5                                                   CHAD V. HAES
                                                     Attorneys for Chapter 7 Trustee,
 6                                                   RICHARD A. MARSHACK
 7 Dated: October ___,
                   18 2021                     ALLEN MATKINS LECK GAMBLE
                                               MALLORY & NATSIS LLP
 8
                                               By:
 9                                                    DEBRA RILEY
                                                      Attorneys for Creditor, CALIFORNIA
10                                                    STATEWIDE COMMUNITIES
                                                      DEVELOPMENT AUTHORITY
11
     Dated: October ___, 2021                  BEST BEST & KRIEGER LLP
12
                                               By:
13                                                    CAROLINE DJANG
                                                      Attorneys for Creditor, DOUG WALL
14                                                    CONSTRUCTION, INC. and CITY OF
                                                      COACHELLA
15
     Dated: October ___, 2021                  POLIS & ASSOCIATES
16                                             A PROFESSIONAL LAW CORPORATION
17                                             By:
                                                      TOM POLIS
18                                                    Attorneys for Mechanics Lien Claimants,
                                                      JACOBSSON ENGINEERING
19                                                    CONSTRUCTION, INC.; TEMALPAKH,
                                                      INC.; TANDEM WEST GLASS, INC.;
20                                                    MASCORRO CONCRETE
                                                      CONSTRUCTION, INC.; DESERT
21                                                    PALM ELECTRIC, INC.; APPLE J.
                                                      PLUMBING; AL MILLER & SONS
22                                                    ROOFING CO., INC.
23 Dated: October ___, 2021                    REED SMITH LLP
24                                             By:
                                                      MARSHA A. HOUSTON
25                                                    CHRISTOPHER O. RIVAS
                                                      Attorneys for Secured Creditor and Buyer,
26                                                    U.S. REAL ESTATE CREDIT
                                                      HOLDINGS III-A, LP
27

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                              United States Bankruptcy Court
                               Central District of California
                                         Los Angeles
                                Judge Sheri Bluebond, Presiding
                                   Courtroom 1539 Calendar

Thursday, September 30, 2021                                           Hearing Room     1539

10:00 AM
2:21-11188    Glenroy Coachella, LLC                                              Chapter 11

    #1.00     Chapter 11 Trustee's Motion for Order Authorizing:

              1) Sale of Real Property Located at 84151 Avenue 48, Coachella, CA and
              Related Assets:

                       (A) Outside the Ordinary Course of Business;

                       (B) Free and Clear of Liens, Claims, and Encumbrances;

                       (C) Subject to Overbid;

                       (D) For Determination of Good Faith Purchaser Under 11 U.S.C. Section
                       363(m);

              2) Assumption of Executory Contracts and Unexpired Leases Under 11
              U.S.C. Section 365
              [OST]

                                   Docket        446

  Courtroom Deputy:
      ZoomGov Appearance by:

      9/17/21 - Caroline R. Djang, (949) 263-6586

      9/17/21 - Nicholas Brunner, (562) 594-3911

      9/27/21 - Timothy Laquer

      9/27/21 - Thomas Polis

      9/27/21 - Marsha Houston

      9/27/21 - Christopher Rivas


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                           United States Bankruptcy Court
                            Central District of California
                                        Los Angeles
                               Judge Sheri Bluebond, Presiding
                                  Courtroom 1539 Calendar

Thursday, September 30, 2021                                             Hearing Room      1539

10:00 AM
CONT...      Glenroy Coachella, LLC                                                   Chapter 11
      9/28/21 - Mark Horoupian

      9/28/21 - Ronak Patel

      9/28/21 - Allen Tippie

      9/28/21 - Edward Hays
  Tentative Ruling:
      Court assumes that there is no dispute concerning the issues raised by the
      reservation of rights filed by the California Statewide Communities
      Development Authority -- any sale will be subject to the assumption of all of
      the relevant PACE obligations, no?

      With regard to the objections interposed by Doug Wall and Jacobsson (jointly,
      the "Objecting Lienholders"), the Court has no problem with the creation of
      different procedures for different mechanics' liens, particularly on these facts;
      however, the sale must provide for adequate protection of the liens asserted
      by the Objecting Lienholders. There is nothing wrong with the debtor's
      requiring that a buyer or a lender indemnify the estate against liability with
      regard to these claims as an additional obligation, but the indemnity itself is
      not sufficient to constitute adequate protection.

      As the court previously ordered on September 13, 2021, either the trustee will
      need to reserve from the sale proceeds an amount that is not less than the
      face amount of all liens asserted against the property that have not yet been
      adjudicated to be junior to that of the lender or unenforceable, including the
      liens asserted by the Objecting Lienholders, or the liens will not be removed
      from the property. In other words, the sale must either be subject to these
      disputed mechanics' liens, or the order will need to provide for the liens to
      attach to sales proceeds in an amount sufficient to pay them in full if they are
      determined to be enforceable and senior to that of the lender. If the trustee
      and lender want the terms of sale to be that neither of the Objecting
      Lienholders are entitled to receive any proceeds from the escrow account that
      lender will set up, either there will need to be an additional reserve from the
      sales proceeds for their benefit or the sale cannot be free and clear of these
      liens.

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                            United States Bankruptcy Court
                             Central District of California
                                         Los Angeles
                                Judge Sheri Bluebond, Presiding
                                   Courtroom 1539 Calendar

Thursday, September 30, 2021                                             Hearing Room   1539

10:00 AM
CONT...         Glenroy Coachella, LLC                                            Chapter 11

      Subject to the foregoing, grant motion. Approve sale to highest bidder.
                                    Party Information
  Debtor(s):
       Glenroy Coachella, LLC                   Represented By
                                                  Daniel J Weintraub
                                                  Crystle Jane Lindsey
                                                  James R Selth
  Movant(s):
       Richard A Marshack (TR)                  Represented By
                                                  Chad V Haes
                                                  D Edward Hays
  Trustee(s):
       Richard A Marshack (TR)                  Represented By
                                                  Chad V Haes
                                                  D Edward Hays




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